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                                 EXHIBIT B

                         Jenner Engagement Letter
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  353 NORTH CLARK STREET CHICAGO ILLINOIS 60654· 3456                        .J E N N E R & 8 L 0 c K L LP




  June 16, 2017
                                                                         Robert D. Gordon
                                                                         Tel +1 212 891 1601
                                                                         rgordon@jenner.com



  The Official Committee of Retired Employees of the Commonwealth of Puerto Rico

  Re:        In re The Commonwealth of Puerto Rico, Case No. 17-BK-03283 (D.P.R.)

  Estimados Members of the Retiree Committee:

            This engagement letter confirms the engagement of Jenner & Block LLP, an Illinois limited
  liability partnership ("Jenner & Block"), by the Official Committee of Retired Employees of the
  Commonwealth of Puerto Rico (the "Retiree Committee" or "you"), and the basis on which
  Jenner & Block will represent you. We thank the Retiree Committee deeply for selecting Jenner &
  Block as its counsel in this important matter.

          1.        Scope of Representation : This engagement involves the representation of the
  Retiree Committee in the Title Ill case of The Commonwealth of Puerto Rico, Case No. 17-bk-
  03283 (D.P.R.) (the "Title Ill Case") and includes representation of the Retiree Committee in any
  related Title Ill cases, adversary proceedings, and other litigation or negotiation related to the Title
  Ill Case. The services to be provided by Jenner & Block will encompass those legal services
  normally and reasonably associated with this type of engagement which Jenner & Block is able
  and has agreed to provide and which are consistent with its ethical obligations. As legal counsel ,
  we are not in a position to, nor have we been retained by the Retiree Committee to, provide
  financial advice. With respect to all matters of our engagement, we will coordinate closely with
  the Retiree Committee as to the nature of the services to be rendered by us and the scope of our
  engagement. This engagement may involve a wide range of services , including but not limited
  to:

             a.         providing advice and representation concerning any proposed modifications of
                        pension, healthcare, and other accrued retirement benefits (collectively, "benefits")
                        of Puerto Rico's public-employment retirees (the "Retirees");

             b.         negotiating with The Financial Oversight and Management Board for Puerto Rico ,
                        Puerto Rico , and any other parties to the Title Ill Case concerning the Retirees'
                        benefits and any matters that may affect those benefits;




   CHICAGO    L.ONDON    L.OS ANGELES   NEW YORK    WASHINGTON , DC           WWW .JENNER .COM
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        c.      representing the Retiree Committee in any proceedings and hearings and any
                mediation sessions that involve or might involve matters pertaining to the benefits
                of the Retirees ;

        d.      preparing on behalf of the Retiree Committee any necessary adversary
                complaints, motions, applications, orders and other legal papers relating to such
                matters;

        e.      advising the Retiree Committee of its powers and duties;

        f.      prosecuting and defending litigation matters and such other matters concerning
                the Retirees' benefits;

        g.      advising the Retiree Committee with respect to bankruptcy, general corporate,
                labor, employee benefits and litigation issues concerning the Retirees' benefits;
                and

        h.      performing such other legal services as may be necessary and appropriate for the
                efficient and economical resolution of the Retiree Committee's interests in the Title
                Ill Case.

 Subject to obtaining any necessary approvals from the District Court or the United States Trustee
 for Region 21 (the "U.S. Trustee"), the Retiree Committee may limit or expand the scope of
 Jenner & Block's representation from time to time, provided that Jenner & Block must agree to in
 writing to any modification of scope. Except as we may otherwise agree in writing, the terms of
 this engagement letter apply to all expansions in the scope of representation and to all additional
 engagements for the Retiree Committee which Jenner & Block may undertake.

         2.      Committee Representation: It is understood that we are being engaged by the
 Retiree Committee as an official creditor committee constituency in the Title Ill Case appointed
 by the U.S. Trustee and that our representation does not constitute representation of any Retiree
 Committee member on an individual basis and the engagement does not create an attorney-client
 relationship with any Retiree Committee member on an individual basis. To the extent that any
 position advocated by the Retiree Committee is adverse to the interest of any individual Retiree
 Committee member, the Retiree Committee hereby expressly authorizes Jenner & Block to
 represent the Retiree Committee and acknowledges that such representation which may be
 adverse to a Retiree Committee member on an individual basis does not constitute a differing
 interest or a potential or actual conflict of interest.

          3.     Fees and Expenses. Our fees are based substantially upon hours charged,
 recorded in tenth-of-an-hour increments, at Jenner & Block's scheduled rates which are in effect
 at the time the services are performed. Those scheduled rates are periodically adjusted , generally
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  at the beginning of a calendar year. My present hourly rate is $1 ,025. The hourly rates for the
  partners expected to be most active in this matter are as follows: Catherine Steege, $1 ,025;
  Richard Levin $1 ,250; Melissa Root, $840. Jenner & Block's present scheduled hourly rates for
  others range from $500 to $1,250 for partners, from $445 to $795 for associates, from $305 to
  $365 for paralegals and are $205 to $215 for project assistants. In addition to fees , our statements
  include out-of-pocket expenses and internal charges which Jenner & Block incurs in connection
  with the representation . For this matter, Jenner & Block agrees to discount its fees , but not out-
  of-pocket expenses and internal charges, by 15% off of its rates in effect at the time the services
  are rendered. Jenner & Block will seek payment of our fees in the Title Ill Cases pursuant to any
  procedures established and required by the District Court and the U.S. Trustee.

         4.      Conflicts with Other Clients. As we have informed you , Jenner & Block has
  represented, and currently represents, Mason Capital in matters that are unrelated to the Title Ill
  Case. We will not be representing Mason Capital in the Title Ill case. It is possible, however, that
  Mason Capital may take positions in the Title Ill case that may be adverse to the Retiree
  Committee. You acknowledge and agree that Jenner & Block may continue to represent Mason
  Capital in ongoing and future matters that are not substantially related to our representation of
  the Retiree Committee while we are representing the Retiree Committee in the Title Ill Case, and
  you waive any conflict that may exist as a result of our simultaneous representation of Mason
  Capital in other matters and of the Retiree Committee on the Title Ill case.

  In addition, Jenner & Block represents many other companies and individuals. It is possible that
  during the time that we are representing the Retiree Committee, some of our other present or
  future clients will have disputes or transactions with members of the Retiree Committee, or Jenner
  & Block will be asked to represent a party to which a member of the Retiree Committee is adverse
  in this matter. The Retiree Committee agrees that we may continue to represent or may undertake
  in the future to represent existing or new clients in any matter that is not substantially related to
  our work for the Retiree Committee even if the interests of such clients in those other matters are
  directly adverse to you or you are adverse to those other clients in this matter. We agree ,
  however, that the Retiree Committee's prospective consent to conflicting representation
  contained in the preceding sentence shall not apply in any instance where, as a result of our
  representation of the Retiree Committee, we have obtained proprietary or other confidential
  information of a nonpublic nature, that, if known to such other client, could be used in any such
  other matter by such client to your material disadvantage. Jenner & Block will notify the Retiree
  Committee in the event it identifies additional connections requiring disclosure.

            5.    Termination of Representation. Either of us may terminate the engagement at any
  time for any reason by providing written notice, subject on the part of Jenner & Block to the
  requirements of applicable legal ethics rules and subject to any court approvals that may be
  required for Jenner & Block to withdraw from its representation of the Retiree Committee in the
  Title Ill Case.
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          6.      Document Retention. During the course of the representation, Jenner & Block
 shall maintain a file on the Retiree Committee's behalf. The file may include materials that
 members of the Retiree Committee have given to us in connection with the representation , as
 well as other material such as pleadings, transcripts, exhibits, reports, contracts, wills , certificates
 and other documents as are determined by Jenner & Block to be reasonably necessary to the
 representation (the "Retiree Committee File"). The Retiree Committee File shall be and remain
 the property of the Retiree Committee. Jenner & Block may also include in the Retiree Committee
 File its attorney work product, mental impressions and notes (collectively "Work Product"). Unless
 otherwise agreed between us, the Work Product shall be and remain the property of Jenner &
 Block. At the termination of the representation and for a period of seven (7) years thereafter, the
 Retiree Committee shall have the right on request to take possession of the Retiree Committee
 File, not including the Work Product. In such event, Jenner & Block at its expense may make and
 retain copies of all or portions of the Retiree Committee File. If you do not request possession of
 the Retiree Committee File within such seven (7) year period , Jenner & Block will have no further
 responsibility for the retention and maintenance of the Retiree Committee File and may at its
 option dispose of all or parts of the Retiree Committee File without further notice to the Retiree
 Committee.

        7.      Approval and Return of Signed Letter: Please signify the Retiree Committee's
 agreement to the arrangement for legal services described in this letter by returning to us a signed
 copy of the engagement letter. For the convenience of the Retiree Committee , we have provided
 a copy of this letter translated in Spanish . Please note however, that the English letter is the
 execution copy for signature by the Retiree Committee. In the event of any inconsistencies
 between the English and Spanish letter, the terms of the English letter are controlling.
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         We very much appreciate the opportunity to work with the Retiree Committee and look
  forward to doing so.

  Les saluda atentamente,

  Jenner & Block LLP

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          Robert D. Gordon, Partner



  Accepted: The Official Committee of Retired Employees of the Commonwealth of Puerto Rico


  By:
          ~E ''~
          Jose Mi rin Martinez, Chairperson

  Date:    ;\\A 'f\.e_ L \ ) 20 \ }
